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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 TODD A. PICKLES
   Assistant United States Attorneys
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for UNITED STATES OF AMERICA

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             Case No. 2:13-CR-00227 GEB
12                                  Plaintiff,             SEALING ORDER
13   v.
14   YU NUNG CHEN,
15                                  Defendant.
16

17             Upon Request of the United States of America to seal the Supplement to the Plea Agreement,

18 and good cause having been shown,

19             IT IS HEREBY ORDERED that the Supplement to the Plea Agreement in the above-

20 captioned case and the Request to Seal Document(s) are hereby SEALED until further order of this

21 Court.

22 Dated: April 4, 2014
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29        Sealing Order
